PETITIONS, under Laws 1893, c. 94, for the reward offered for the arrest or causing the arrest of Almy. The court found that Whitcher and Brown, and Warden, through information furnished by them, caused Almy's arrest; that none of the other petitioners arrested him or caused his arrest; awarded a part of the reward to Whitcher and Brown and a part to Warden, if it could lawfully be apportioned, otherwise the whole to Whitcher and Brown; and dismissed the other petitions. Each of the parties, including the state, excepted to all the court's findings and orders not favorable to it, him, or her. No ground being stated or appearing on which any of the exceptions could be sustained, they were overruled, and the reward adjudged in part to Whitcher and Brown, and in part to Warden.
SMITH, J., did not sit. *Page 606 